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                                               United States Bankruptcy Court
                                               Northern District of Florida
In re:                                                                                                     Case No. 20-10005-KKS
Thomas Boyson Barwick                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1129-1                  User: admin                        Page 1 of 1                          Date Rcvd: May 18, 2020
                                      Form ID: 318                       Total Noticed: 12


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 20, 2020.
db             +Thomas Boyson Barwick,   PO Box 231,   Mayo, FL 32066-0231
smg            +U.S. Attorney (Tallahassee Office),   111 N. Adams Street,    Fourth Floor,
                 Tallahassee, FL 32301-7736
2326786        +Brett A. Marlowe, Esq.,   Turner Padget & Bennett, LLC,    214 South Lucerne Circle East,
                 Suite 201,   Orlando, FL 32801-3714
2326789        +Mary Lou Barwick,   PO Box 572,   Mayo, FL 32066-0572

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: FLDEPREV.COM May 19 2020 07:08:00       Florida Dept. of Labor/Employment Security,
                 c/o Florida Dept. of Revenue,     P.O. Box 6668,   Tallahassee, FL 32314-6668
smg             EDI: FLDEPREV.COM May 19 2020 07:08:00       Florida Dept. of Revenue,    Bankruptcy Unit,
                 P.O. Box 6668,    Tallahassee, FL 32314-6668
2326787         EDI: CAPITALONE.COM May 19 2020 07:08:00       Capital One,   PO Box 60599,
                 City of Industry, CA 91716-0599
2326788         E-mail/PDF: creditonebknotifications@resurgent.com May 19 2020 03:21:14        Credit One Bank,
                 Post Office Box 60500,    City of Industry, CA 91716-0500
2326790         E-mail/PDF: MerrickBKNotifications@Resurgent.com May 19 2020 03:24:01        Merrick Bank,
                 PO Box 660702,    Dallas, TX 75266-0702
2327147        +EDI: PRA.COM May 19 2020 07:08:00       PRA Receivables Management, LLC,    PO Box 41021,
                 Norfolk, VA 23541-1021
2326791        +E-mail/Text: bankruptcy@southstatebank.com May 19 2020 03:10:37        South State Bank,
                 Bankruptcy,    PO Box 118068,    Charleston, SC 29423-8068
2326792        +E-mail/Text: bankruptcynotice@westlakefinancial.com May 19 2020 03:10:34        Westlake Financial,
                 4751 Wilshire Blvd, #100,     Los Angeles, CA 90010-3847
                                                                                               TOTAL: 8

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 20, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 18, 2020 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
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Information to identify the case:
Debtor 1              Thomas Boyson Barwick                                       Social Security number or ITIN   xxx−xx−4180
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Florida

Case number: 20−10005−KKS



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Thomas Boyson Barwick
           aka Thomas Barwick, aka Thomas B Barwick


           5/18/20                                                        By the court: Karen K. Specie
                                                                                        United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.
However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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